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18                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
19                                  SAN FRANCISCO DIVISION

20 In re FACEBOOK BIOMETRIC                      Master File No. 3:15-cv-03747-JD
   INFORMATION PRIVACY LITIGATION                CLASS ACTION
21
                                                 PLAINTIFFS' NOTICE OF MOTION AND
22 This Document Relates To:                     MOTION TO EXCLUDE THE TESTIMONY
                                                 OF DEFENDANT'S PROPOSED EXPERT
23               ALL ACTIONS.                    MATTHEW TURK, PH.D.;
                                                 MEMORANDUM OF POINTS AND
24                                               AUTHORITIES IN SUPPORT THEREOF

25                                               DATE:        May 17, 2018
                                                 TIME:        10:00 a.m.
26                                               CTRM:        11, 19th Floor
                                                 JUDGE:       Hon. James Donato
27                                   [REDACTED] SEAL]
                                      [FILED UNDER

28


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         22 Lust By & Through Lust v. Merrell Dow Pharms., Inc.,
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            1                                  NOTICE OF MOTION AND MOTION

            2    TO:       ALL PARTIES AND THEIR ATTORNEYS OF RECORD

            3              PLEASE TAKE NOTICE that on May 17, 2018 at 10:00 a.m., before the Honorable James

            4 Donato, United States District Judge, at the United States District Court, Northern District of

            5 California, San Francisco Division, 450 Golden Gate Avenue, Courtroom 11, 19th Floor, San

            6    Francisco, California 94102, plaintiffs Adam Pezen, Nimesh Patel, and Carlo Licata will move this

            7    Court for an order, pursuant to Federal Rules of Evidence 401, 403 and 702 on the grounds that Dr.

            8 Matthew Turk's ("Dr. Turk") opinions are unreliable, would serve to mislead and confuse the jury,

            9    and will not assist the trier of fact to understand the evidence or determine a fact at issue. This

        10       Motion is based on this Notice of Motion and Motion, the Memorandum of Points and Authorities in

        11       Support Thereof, the Declaration of Shawn A. Williams and the [Proposed] Order filed herewith, all

        12 pleadings and papers filed herein, arguments of counsel, and any other matters properly before the

        13       Court.

        14                                             ISSUE TO BE DECIDED

        15                Whether Dr. Turk should be excluded from testifying at trial under the Federal Rules of

        16       Evidence, including Rules 401, 403 and 702.

        17                             MEMORANDUM OF POINTS AND AUTHORITIES

        18 I.             INTRODUCTION

        19                In an increasingly desperate effort to escape compelling evidence of liability, including

        20 admissions that Facebook's facial recognition system scans face geometry in photos uploaded to its

        21       platform, thereby collecting biometric identifiers, Facebook disclosed the report of Dr. Turk, who

        22

        23

        24                The unreliability of Dr. Turk's report is not limited to his convenient avoidance of directly

        25 contrary evidence from Facebook itself, including Facebook's clear admissions in numerous pre-

        26      litigation documents explaining, for example,

       27

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1389783_1       PLAINTIFFS' NOTICE OF MOTION AND MOTION TO EXCLUDE THE TESTIMONY OF
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            1                           1 Ex. 2 at 2. Dr. Turk's entire analysis appears to be ba

            2

            3       Compare ECF No. 120 ("MID Order") at 21-22 with Ex. 3,113.3 B

            4

            5

            6

            7             Separately, Dr. Turk's opinions rely in part on t

            8                  ), a Facebook software engineer and research scientist, who co-founded and sold

            9 Face.com to Facebook. See id. at B-1. Dr. Turk testified that h

        10                                                         See Ex. 4 at 63:10-19; 78:11-16. Apart from the

        11 circular and curious nature of an expert opinion being confirmed by the defendant, Dr. Turk

        12 produced no useful information about t                             and plaintiffs were therefore unable to

        13       effectively cross-examine Dr. Turk regarding their influence on his opinions. Indeed, Dr. Turk

        14

        15 id. at 62:19-63:19. Dr. Turk did produce

        16

        17                        Id. This absolute failure to provide the underlying material on which his opinions

        18 are based also warrants exclusion of Dr. Turk's testimony.

        19                Finally, the Court should exclude Dr. Turk's conclusory, baseless and unscientific opinions

        20 that

        21

        22                                                                          T1114, 118-121, 128. Not one of

        23 these opinions is based on any actual analysis or methodology that can be tested; and, as Dr. Turk

        24
                1 All "Ex. 2 references herein are to the Declaration of Shawn A. Williams in Support of
       25
                Plaintiffs' Motion to Exclude the Testimony of Defendant's Proposed Expert Matthew Turk Ph.D.,
                filed concurrently herewith.
       26
                2     Biometric Information Privacy Act, 740 ILCS 14/1, et seq.
       27
                3
       28
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            1       readily admitted,

            2

            3

            4              As detailed further below, the Court should exclude all of Dr. Turk's proposed testimony as it

            5    unreliable and will do nothing to assist the jury in assessing the actual issues in dispute.

            6 II.          LEGAL STANDARDS

            7              Trial courts must perform a "gatekeeping function" to ensure expert testimony satisfies the

            8 "reliable and relevant" prongs of Rule 702 of the Federal Rules of Evidence. United States v.

            9 Redlightning, 624 F.3d 1090, 1111 (9th Cir. 2010); see also Daubert v. Merrell Dow Pharms., Inc.,

        10       509 U.S. 579, 589 (1993) (expert testimony must be "not only relevant, but reliable"). The party

        11       proffering the expert has the burden of proving — by a preponderance of the evidence — that the

        12       expert's testimony is admissible under Rule 702. United Food & Commercial Workers Local 1776

        13       v. Teikoku Pharma USA, 2017 U.S. Dist. LEXIS 182940, at *98 (N.D. Cal. Nov. 3, 2017) (citing

        14       Lust By & Through Lust v. Merrell Dow Pharms., Inc., 89 F.3d 594, 598 (9th Cir. 1996)).

        15                 Rule 702 and Daubert apply "not only to testimony based on 'scientific' knowledge, but also

        16      to testimony based on 'technical' and 'other specialized' knowledge." Kumho Tire Co. v.

        17       Carmichael, 526 U.S. 137, 141, 147-48 (1999).4 Expert opinion testimony is appropriate only where

        18 the trier of fact would not ordinarily be able to resolve a factual issue without technical or

        19 specialized assistance. Daubert, 509 U.S. at 591; Kumho Tire, 526 U.S. at 156. Lauzon v. Senco

        20 Prods., 270 F.3d 681, 686 (8th Cir. 2001) ("[E]vidence based on scientific, technical, or other

        21 specialized knowledge must be useful to the finder of fact in deciding the ultimate issue of fact. . . .

        22      This is the basic rule of relevancy.").

       23                 If a jury is capable of drawing its own inferences from the available evidence, expert

       24 testimony is not "helpful to the trier of fact." Nichols v. Am. Nat'l Ins. Co., 154 F.3d 875, 883 (8th

       25 Cir. 1998). In fact, such opinion testimony can result in unfair prejudice to the opposing party by

       26       confusing the issues or misleading the jury. See United States v. Gonzalez-Maldonado, 115 F.3d 9,

       27
                4     All citations and footnotes omitted and emphasis added, unless otherwise indicated.
       28
1389783_1       PLAINTIFFS' NOTICE OF MOTION AND MOTION TO EXCLUDE THE TESTIMONY OF
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            1    17-18 (2009) ("`By appearing to put the expert's stamp of approval on [a] theory, such testimony

            2    might unduly influence the jury's own assessment of the inference that is being urged.").

            3           "Rule 702 sets forth the overarching requirement of reliability, and an analysis of the

            4 sufficiency of the expert's basis cannot be divorced from the ultimate reliability of the expert's

            5 opinion." Fed. R. Evid. 702 advisory committee notes to 2000 amendments. An expert opinion is

            6    reliable "`if the knowledge underlying it has a reliable basis in the knowledge and experience of the

            7 relevant discipline."' Primiano v. Cook, 598 F.3d 558, 565 (9th Cir. 2010). The trial court must

            8    consider whether the testimony: (1) is "based on sufficient facts or data"; (2) is "the product of

            9 reliable principles and methods"; and (3) applies "the principles and methods to the facts of the

        10 case." Fed. R. Evid. 702. The knowledge underlying the expert's opinion must also have a valid

        11       connection to the pertinent inquiry. Primiano, 598 F.3d at 565.

        12              Courts should exclude an expert's proffered testimony under Federal Rule of Evidence 403 if

        13       its "probative value is substantially outweighed by a danger of one or more of the following: unfair

        14 prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

        15       presenting cumulative evidence." See Fed. R. Evid. 403. "'Expert evidence can be both powerful

        16 and quite misleading because of the difficulty in evaluating it. Because of this risk, the judge in

        17 weighing possible prejudice against probative force under Rule 403 of the present rules exercises

        18 more control over experts than over lay witnesses.'" Daubert, 509 U.S. at 595.

        19 III. ARGUMENT

        20              A.      Dr. Turk's Opinions Are Not Helpful or Relevant Because
                                                                           a Position Contrary to
        21                      BIPA and Rejected by the Court

        22              In the MTD Order, the Court rejected Facebook's argument that BIPA' s definition of "scan"

        23 is limited to in-person scans:

        24                      Facebook argues that the only way to reconcile the statute's inclusion of
                        "scan" and exclusion of "photographs" is to read the word "scan" to mean in Person
       25               scan. But this cramped interpretation is not stated in BIPA and cannot be squared
                        with the statute's purpose.
       26
                MTD Order at 21-22. The Court explained that BIPA is an informed-consent privacy law
       27
                specifically addressing the collection and use of personal biometric identifiers at a time when
       28
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            1    biometric technology was beginning to be widely deployed and "to cabin this purpose within a

            2 specific in-person data collection technique has no support in the words and structure of the statute,

            3    and is antithetical to its broad purpose of protecting privacy in the face of emerging biometric

            4 technology." Id.

            5

            6

            7           For example, immediately after describing his assignment,

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            9

        10                                                                                              According

        11       to Dr. Turk,

        12                                           ¶39. In fact, Dr. Turk's main conclusion is

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        15

        16                                                                                Thus, Dr. Turk's entire

        17 opinion regarding

        18

        19

        20              Dr. Turk's conclusion that

        21                                                   because Dr. Turk is

        22                                                                                     Primiano, 598 F.3d

        23 at 565. Thus, even if Dr. Turk's opinion r

        24

       25            . Fed. R. Evid. 702(a) (requiring that the expert's knowledge assist the trier of fact "to

       26 determine a fact in issue"). Accordingly, Dr. Turk's opinions

       27                                                            should be excluded. Teikoku Pharma, 2017

       28 U.S. Dist. LEXIS 182940, at *117 (excluding expert opinion on topics irrelevant to elements of
1389783_1       PLAINTIFFS' NOTICE OF MOTION AND MOTION TO EXCLUDE THE TESTIMONY OF
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            1        antitrust claims); Apple, Inc. v. Samsung Elecs. Co., 2012 U.S. Dist. LEXIS 90877, at *31 (N.D. Cal.

            2 June 30, 2012) (excluding expert opinions that are "contrary to law" and therefore not helpful to the

            3 jury). His opinions are also wholly irrelevant to the Court's interpretation of BIPA. See SEC v.

            4        Capital Consultants, LLC, 397 F.3d 733, 749 (9th Cir. 2005) ("Experts may interpret and analyze

            5        factual evidence but may not testify about the law.").

            6               B.      Dr. Turk's Testimony Should be Excluded Because It Ignores Directly
                                    Contrary Evidence
            7
                            Expert opinion is unreliable if the expert fails to consider contrary evidence and instead
            8
                 cherry-picks his support. In re Rezulin Prods. Liab. Litig., 369 F. Supp. 2d 398, 425 (S.D.N.Y.
            9
                 2005).5 Further, "if the relevant scientific literature contains evidence tending to refute the expert's
        10
                 theory and the expert does not acknowledge or account for that evidence, the expert's opinion is
        11
                 unreliable." Id.; see also Abarca v. Franklin Cty. Water Dist., 761 F. Supp. 2d 1007, 1066 n.60
        12
                 (E.D. Cal. 2011) ("`A scientist might well pick data from many different sources to serve as
        13
                 circumstantial evidence for a particular hypothesis, but a reliable expert would not ignore contrary
        14
                 data.'").
        15
                            Here, Dr. Turk concludes that
        16

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                                                                          extraterritoriality summary judgment motion
        20
                 (ECF No. 257). The DeepFace paper is the most comprehensive literature describing how
        21
                 Facebook's current facial recognition system works. See Ex. 5.6 Importantly, in his report, Dr. Turk
        22

        23

        24

        255 Plaintiffs presume that as required by Rule 26(a)(2)(B)(ii) of the Federal Rules of Civil
          Procedure, Dr. Turk included in his report all facts and data considered by the witness in forming his
       26 opinion.

       27        6
                     Even worse, D
       28
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            3                                                                                                As

            4 the DeepFace paper makes abundantly clear, processing human facial features in different places is

            5   exactly how Facebook's system operates:

            6          These layers [of the deep neural network comprising the representation phase] are
                       able to capture correlations between features captured in distant parts of the face
            7          images, e.g., position and shape of eyes and position and shape of mouth.

            8 Ex. 5 at FBBIPA 00001217. Dr. Turk f

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        15                                                    Rezulin, 369 F. Supp. 2d at 425.

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                7 Nowhere in the DeepFace oaoer does F

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1389783_1       PLAINTIFFS' NOTICE OF MOTION AND MOTION TO EXCLUDE THE TESTIMONY OF
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             8                                                Abarca, 761 F. Supp. 2d at 1066 n.60.

             9               C.      Dr. Turk's Opinions Should Be Excluded Because They

            10
                             Federal Rule of Civil Procedure 26(a)(2)(B)(ii) requires an expert to disclose "the facts or
            11
                      data considered by the witness in forming" his opinions. Fed. R. Civ. P. 26(a)(2)(B)(ii). The
            12
                     purpose of this Rule is to provide the opposing party a "reasonable opportunity to prepare for
            13
                     effective cross examination and perhaps arrange for expert testimony from other witnesses." Fed. R.
            14
                     Civ. P. 26 (advisory committee notes to 1993 amendment). Without the information and materials
            15
                     considered by an expert in forming his opinions, the opposing party is deprived of the opportunity on
            16
                     effectively cross-examining the expert. Id.; see also Johnson v. Mead Johnson & Co., LLC, 2012
            17
                     U.S. Dist. LEXIS 195104, at *10-*11 (D. Minn. Aug. 13, 2012) ("useful cross examination and
            18
                     possible impeachment can only be accomplished by gaining access to all of the information that
            19
                     shaped or potentially influenced the expert witness's opinion").
        20
                            In his December 22, 2017 report, disclosed over a month after the fact discovery cut-off,
        21

        22

        23
                                                            Because the report was silent on the substance of the
        24
                     conversations and neither Dr. Turk nor Facebook provided any documents memorializing the
        25
                     conversations, on February 14, 2018, plaintiffs wrote to Facebook demanding any notes, transcripts
        26
                     or recording of the conversations pursuant to Rule 26. Ex. 8. In response, on February 26, 2018,
        27
                     Facebook
        28
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            1
            2
            3           In his deposition,

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        24                                                                                       See
        25 Freeny v. Murphy Oil Corp., 2015 U.S. Dist. LEXIS 118736, at *5-6 (E.D. Tex. June 3, 2015)
       26
                 8
       27
       28
1389783_1        PLAINTIFFS' NOTICE OF MOTION AND MOTION TO EXCLUDE THE TESTIMONY OF
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            1 (excluding expert report to the extent that it relied on conversations with witness where plaintiff was

            2 prevented from taking discovery on conversations from witness before fact discovery cutoff).

            3

            4

            5

            6

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            8

            9                                                            Because there is no way for plaintiffs to

        10 reasonably inquire into

        11                                                     the Court should entirely exclude his testimony. See

        12 Freeny, 2015 U.S. Dist. LEXIS 118736 at *5-*6 (E.D. Tex. June 4, 2015); compare EMC Corp. v.

        13 Pure Storage, Inc., 154 F. Supp. 3d 81, 116 (D. Del. 2016) (allowing opinions where expert

        14 disclosed "the substance of the discussions in enough detail to permit [plaintiff] to conduct

        15 meaningful cross examination and other discovery").

        16             D.      The Court Should Exclude Dr. Turk's Testimony Regarding

        17                             Because They Are Entirely Unfounded

        18             As an afterthought to his unreliable opinions r

        19

        20

        21                          The entirety of the "analysis" for this conclusion comprises five sentences and

        22 includes no evidentiary or literary support. See rif115-116. Also missing is any basis or reasoning

       23 as required by Rule 26(a)(2)(B)(i) behind how Dr. Turk arrived at his conclusions. Id. For example,

       24 the whole analysis supporting the conclusion that

       25

       26

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                 DEFENDANT'S PROPOSED EXPERT MATTHEW TURK, PH. D. - 3:15-cv-03747-JD                            - 10
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            1    ¶115.9

            2                                                                            ¶116. Again, no support is

            3    provided and no attempt is made to explain how or w

            4                                                                                         The absence of

            5 meaningful analysis alone is enough to warrant excluding Dr. Turk's opinions regarding

            6                                      See Open Text S.A. v. Box, Inc., 2015 U.S. Dist. LEXIS 8783, at

            7 *20-*21 (N.D. Cal. Jan. 23, 2015) (excluding testimony where the "link, if any, between" the

            8    documents considered and the expert's conclusions were "written in invisible ink").

            9             But Dr. Turk's conclusions regarding t                                   eveal a further

        10 flaw in his analysis — he fail                               and only refers to it in exclusionary terms.

        11       Throughout the report, Dr. Turk only mentions

        12                                                                                       This is particularly

        13       true in his "analysis" of

        14                                             By not explaining                                      his

        15 opinions are based on, Dr. Turk offers no assistance to a trier of fact. See Jack Henry & Assocs. v.

        16 BSC, Inc., 487 F. App'x 246, 256 (6th Cir. 2012) (affirming exclusion of expert testimony where

        17 expert failed to define key term in report). Without a definition f

        18                                                                                                       , or

        19 to meaningfully cross-examine Dr. Turk on those questions. Dr. Turk's deposition, a

        20

        21                                                   his conclusions do not assist a trier of fact seeking to

        22
                 9

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        24                           See Fujifilm Corp. v. Motorola Mobility LLC, 2015 U.S. Dist. LEXIS
          21413, at *87 (N.D. Cal. Feb. 20, 2015) ("Where expert testimony 'simply rehash[es] otherwise
       25 admissible evidence about which [the expert] has no personal knowledge, such evidence — taken on
          its own — is inadmissible.") (alterations in original):
       26

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1389783 1        PLAINTIFFS' NOTICE OF MOTION AND MOTION TO EXCLUDE THE TESTIMONY OF
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            7          E.      Dr. Turk's Opinions Regarding
                               Theft Should Be Excluded Because
            8
            9          By his own admission,

        10

        11
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        16                                        See Mullins v. Premier Nutrition Corp., 178 F. Supp. 3d 867, 901

        17 (N.D. Cal. 2016) (excluding orthopedic professor's testimony regarding effectiveness of dietary

        18 supplement).
        19             Moreover, whether a person's identity can or cannot be stolen from Facebook using its face

        20 recognition technology is not an element of liability under BIPA and therefore is not an issue in
        21 dispute. Plaintiffs need not prove anything regarding identity theft to establish a violation of BIPA,

        22 and there is no defense available to Facebook involving a lack of identity theft. See 740 ILCS 14/15.

        23 A
        24                                                                          Fed. R. Evid. 702(a) (to be

       25 admissible, expert must assist the trier of fact "to determine a fact in issue"); Teikoku Pharma, 2017
       26 U.S. Dist. LEXIS 182940, at *117.
       27              Finally, Dr. Turk's opinion is self-contradictory. I

       28
1389783_1        PLAINTIFFS' NOTICE OF MOTION AND MOTION TO EXCLUDE THE TESTIMONY OF
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            2

            3                                                Given this striking contradiction,

            4                                                    there is no question that Dr. Turk's testimony on the

            5   topic will only serve to confuse the jury and offer no relevant assistance. See Newkirk v. Conagra

            6 Foods, Inc., 727 F. Supp. 2d 1006, 1027 (E.D. Wash. 2010) (excluding expert opinion that was

            7 contradicted by studies relied on in report), aff'd, 438 F. App'x 607 (9th Cir. 2011).

            8           F.      The Court Should Exclude Dr. Turk's Opinion
                                                              Because It Is Based on No Analysis
            9
                        Dr. Turk's opinion re
        10

        11

        12
                This, of course, is entirely insufficient and should be excluded. See Open Text, 2015 U.S. Dist.
        13
                LEXIS 8783, at *20-*21.
        14
                        Moreover, Dr. Turk's opinion is wrong and deeply misleading because Facebook has, in fact,
        15
                turned off its facial recognition system for all European users. Exs. 10-11. If, as Dr. Turk posits,
        16

        17
                                                                              Finally, as with several other opinions,
        18
                                                                                                               but they
        19
                have nothing to do with the actual issues in dispute in this case and will not assist the jury.
        20
                Therefore, they should be excluded.
        21

        22

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        25

        26 1° Dr. Turk's deposition testimony s

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1389783_1       PLAINTIFFS' NOTICE OF MOTION AND MOTION TO EXCLUDE THE TESTIMONY OF
                DEFENDANT'S PROPOSED EXPERT MATTHEW TURK, PH. D. - 3:15-cv-03747-JD                                - 13 -
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            1   IV. CONCLUSION

            2         For the reasons stated above the Court should exclude Dr. Turk's testimony.

            3 DATED: March 16, 2018                          Respectfully submitted,

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                DEFENDANT'S PROPOSED EXPERT MATTHEW TURK, PH. D. - 3:15-cv-03747-JD                  - 14 -
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            1                                      CERTIFICATE OF SERVICE

            2           I hereby certify that on March 16, 2018, I authorized the electronic filing of the foregoing

            3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

            4 the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

            5    caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

            6 CM/ECF participants indicated on the attached Manual Notice List.

            7           I certify under penalty of perjury under the laws of the United States of America that the

            8    foregoing is true and correct. Executed on March 16, 2018.

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